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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                            CASE NO. 3:19cr113/MCR

FRANCIS MULDOWNEY

                                    /

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, and subject to this Court’s

consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of

guilty of the Defendant, FRANCIS MULDOWNEY, to Count One of the Indictment

is hereby ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

      DONE and ORDERED this 10th day of December 2019.




                                        s/   M. Casey Rodgers
                                     M. CASEY RODGERS
                                     UNITED STATES DISTRICT JUDGE
